                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:11-00082
                                                 )      Judge Trauger
[8] JAMES THOMAS COFFEY                          )
                                                 )

                                            ORDER

       It is hereby ORDERED that the sentencing scheduled for February 1, 2013 is RESET

for Monday, February 4, 2013 at 3:30 p.m.

       It is so ORDERED.

       ENTER this 8th day of January 2013.




                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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